                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA             )
                                     )
            v.                       )       1:08cr00272-3
                                     )
MATTHEW CHRISTOPHER SAVOY            )

                     MEMORANDUM OPINION AND ORDER

      Before the court is Defendant Matthew Christopher Savoy’s

motion for compassionate release.         (Doc. 233.)      The Government

filed a response opposing Savoy’s motion. (Doc. 241.) Savoy filed

a reply.    (Doc. 245.)   For the reasons stated herein, the motion

will be denied.

I.    BACKGROUND

      Savoy pleaded guilty to one count of conspiracy to interfere

with commerce by robbery (Hobbs Act robbery) in violation of 18

U.S.C. § 1951(a) and two counts of discharging a firearm during a

crime of violence in violation of 18 U.S.C. § 924(c)(1)(A)(ii).

(Doc. 111 at 1.)    In September 2009, this court sentenced him to

63 months of imprisonment on the conspiracy conviction, a mandatory

consecutive 10-year term on the first § 924(c) conviction, and a

mandatory   consecutive    25-year    term   on    the   second   §    924(c)

conviction, for a total of 483 months.            (Id. at 2.)     The court

also sentenced him to five years of supervised release.               (Id. at

3.)   Savoy appealed, citing ineffective assistance of counsel, and

the Fourth Circuit affirmed.      United States v. Savoy, 390 F. App’x




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222 (4th Cir. 2010).          Savoy has since filed multiple motions

pursuant to 28 U.S.C. § 2255 challenging the stacking of his

§ 924(c) convictions (Doc. 149) and claiming that his Hobbs Act

conviction does not constitute a predicate offense under § 924(c).

(Doc. 178.)      This court denied both motions (Doc. 175; Doc. 231).

Savoy is currently incarcerated at FCI Butner Low and has an

expected release date of November 16, 2030.             (Doc. 241 at 2.)

II.   ANALYSIS

      “Federal law has long authorized courts to reduce sentences

of federal prisoners facing extraordinary health conditions,” but

prior to the passage of the First Step Act of 2018, Pub. L. No.

115-391,    132    Stat.    5194,    district    courts     could    grant    such

reductions only upon a motion by the Director of the Bureau of

Prisons (“BOP”) under 18 U.S.C. § 3582(c)(1).                United States v.

Beck, 425 F. Supp. 3d 573, 577-78 (M.D.N.C. 2019).                      However,

Congress amended § 3582(c)(1) when it passed the First Step Act.

Pertinent     here,   the    First    Step   Act    added    a   provision      to

§ 3582(c)(1) that     allows    a    defendant     to   bring    a   motion   for

compassionate release directly in a district court after either

“the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever

is earlier.”      18 U.S.C. § 3582(c)(1)(A).

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      Once this exhaustion requirement is met, a defendant must

either (1) have “extraordinary and compelling reasons” for a

compassionate release, or (2) be at least 70 years old, have served

30 years in prison, and have the Director of BOP determine that

the defendant is not a danger to the public.                      Id.     Additionally,

a   court,    in    considering      a     reduction     in    sentence      pursuant    to

§ 3582(c)(1)(A), must consult the sentencing factors set forth in

18 U.S.C. § 3553(a) and may grant the reduction only if it is

“consistent with [the] applicable policy statements” issued by the

United States Sentencing Commission.                    Id.    This includes United

States Sentencing Guideline § 1B1.13.                   Section 1B1.13 essentially

reiterates         the    requirements        of      § 3582(c)(1)(A),         with     the

additional requirement that a defendant not be “a danger to the

safety   of    any       other    person    or   to   the     community.”       U.S.S.G.

§ 1B1.13(2);        see    also    Beck,    425    F.   Supp.     3d    at    578.      The

application notes to § 1B1.13 provide examples of extraordinary

and compelling reasons to grant a compassionate release, including

when an inmate is suffering from a debilitating medical condition

that has “substantially diminishe[d] the ability of the [inmate]

to provide self-care within the environment of a correctional

facility and from which he . . . is not expected to recover.”

U.S.S.G. § 1B1.13 application note 1(A)(ii).

      For over a year, the Sentencing Commission has lacked a quorum

and thus has not updated its policy statements on compassionate

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release since the First Step Act was signed into law in December

2018. Beck, 425 F. Supp. 3d at 579 n.7. Thus, the current phrasing

of § 1B1.13 addresses scenarios in which the BOP Director files a

motion for compassionate release, but not situations in which an

inmate files a similar motion under § 3582.             As such, § 1B1.13

provides helpful guidance when considering a motion filed by an

inmate,    but   “it   does   not   constrain   the   Court’s    independent

assessment    of   whether    ‘extraordinary    and   compelling      reasons’

warrant a sentence reduction under § 3582(c)(1)(A)(i).”                Id. at

579.      Therefore,   when   considering   the   merits    of   an   inmate’s

§ 3582(c)(1)(A) motion for compassionate release, the court must

consider the § 3553(a) factors but is not limited by the policy

statements outlined in § 1B1.13.

       The Government argues that Savoy has failed to exhaust his

administrative remedies because he failed to property submit his

Reduction in Sentence (“RIS”) request with the Warden of Butner

Low.   (Doc. 241 at 8-10.)     The court disagrees.        The compassionate

release statute requires a defendant to either “fully exhaust[]

all administrative rights to appeal” the BOP’s failure to bring a

motion on the defendant’s behalf or “the lapse of 30 days from the

receipt of such a request by the warden,” whichever is earlier.

§ 3582(c)(1)(A); see also United States v. Alam, 960 F.3d 831, 836

(6th Cir. 2020) (noting that after “their initial petition to their

wardens . . . prisoners can pursue administrative review.              If that

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also comes up short (or if 30 days pass), prisoners have the option

to go to federal court”).         Here, Savoy submitted his first RIS

request on April 24, 2020.       (Doc. 245-2.)    In this request, Savoy

did not circle one of the form’s pre-listed qualifications for a

reduction     in   sentence    but   instead    wrote     in     and   circled

“Extraordinary and compelling measures.”          (Id.)        That same day,

Savoy submitted a second RIS request in which he further clarified

the basis for his request.       (Doc. 245-3.)     Savoy’s requests were

denied on May 1, 2020, with instructions “to circle criteria in

which he would like to apply for.”        (Doc. 245-1.)     Savoy filed the

instant motion on June 25, 2020.         (Doc. 233.)      The compassionate

release statute requires exhaustion in order to provide BOP the

opportunity to decide, in the first instance, whether to grant the

requested relief.      See United States v. Wilson, No. CR 14-209-1,

2020 WL 1975082, at *4 (E.D. Pa. Apr. 24, 2020) (“In the First

Step Act, Congress decided Bureau of Prisons should have at least

the   first   chance   to   determine    a   prisoner’s    suitability     for

compassionate release, and gave the Bureau of Prisons thirty days

to consider a request in light of more general considerations about

the conditions, needs at particular facilities and the prison

system as a whole, and for the just and proper treatment of the

prisoner based on his background and medical history.”).               The BOP

had that opportunity here, even if it chose to deny Savoy’s request

on technical grounds.       And Savoy waited more than 30 days after he

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filed his two RIS requests to file his motion with this court, as

required by the statute.           Accordingly, the court finds that Savoy

has exhausted his administrative remedies.

     Savoy    makes       two   distinct      arguments     for    what     constitutes

extraordinary      and     compelling    reasons       that      merit    compassionate

release.     First, Savoy reports that he suffers from “athletic

asthma, elevated blood pressure and obesity” such that he is at a

higher    risk     of    contracting     COVID-19       and      developing     serious

complications if exposed.          (Doc. 234 at 25.)          Second, Savoy argues

that the First Step Act’s limitation of five years for consecutive

mandatory minimum sentences for 18 U.S.C. § 924(c) convictions in

the same indictment, which constitutes a departure from prior law

that mandated a consecutive 25-year sentence for a second such

conviction    in     the    same   indictment,         is   an    extraordinary      and

compelling reason for a sentence reduction.                      (Id. at 31-33; Doc.

245 at 15-21.)          After careful review of Savoy’s motion and reply

brief, the court finds that neither ground, standing alone or

combined, constitutes an extraordinary and compelling reason for

compassionate release.

     A.      Medical Condition

     Savoy first cites his medical condition.                    A review of Savoy’s

medical    records      confirms    he   is    obese    and      has     elevated   blood




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pressure. 1 (Doc. 242-1 at 5.) According to the Centers for Disease

Control and Prevention (“CDC”), a BMI of 40 or higher is identified

as increasing the risk for severe illness from COVID-19 while high

blood pressure may increase such a risk.               See CDC, People with

Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html

(last accessed Nov. 6, 2020).       Savoy is 31 years old. 2        (Doc. 242-

1 at 1.)

       Much of Savoy’s argument hinges on the conditions at Butner

Low,   where   he   is    incarcerated,   and   what    he    describes   as   a

“tinderbox for COVID-19.”       (Doc. 234 at 30.)       The Government does

not argue the point, acknowledging that during this past summer

“[i]t is indisputable that Butner Low [was] suffering from a

serious COVID-19 outbreak.”        (Doc. 241 at 2.)          On July 10, 2020,

Butner Low had 555 COVID-19 cases among inmates -- about half the

overall population at the facility -- with 16 inmate deaths and

113 recoveries.          (Id. at 3; Doc. 245 at 13.)             This led the

Government to concede that “the conditions at Butner Low, coupled

with Savoy’s medical conditions substantially diminish Savoy’s


1 Specifically, Savoy has a Body Mass Index (“BMI”) of 44. (Doc. 242-1
at 4.)    His most recent blood pressure test results were 154/95 in
February 2020 and 121/66, 135/88, and 133/71 in March 2020. (Id. at 2,
5.)
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  Savoy also says he has asthma (Doc. 234 at 25; Doc. 245 at 2 n.2) but
a review of his medical records does not confirm this. Indeed, on a BOP
health intake form dated February 6, 2020, the box labeled “asthma” is
left unmarked. (See Doc. 242-1 at 79.)

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ability to provide self-care within his correctional facility.

See U.S.S.G. § 1B1.13 cmt. n.1(A)(ii).                  As such, Savoy has shown

there is an ‘extraordinary and compelling’ reason for a sentence

reduction.”      (Doc. 241 at 20.)

       However, the situation at Butner has improved considerably

since then.      A review of BOP’s COVID-19 tracker shows FCI Butner

Low had only two confirmed cases, both staff members, as of

November   6,    2020.      See   https://www.bop.gov/coronavirus/             (last

accessed Nov.      6,    2020).    Thus,       Savoy’s     primary    argument   for

compassionate release -- the influx of COVID-19 at Butner Low --

is substantially diminished.

       Without the presence of COVID-19 at his facility, Savoy’s

medical conditions do not constitute extraordinary and compelling

reasons for compassionate release.                 Neither obesity nor high blood

pressure is a chronic condition, one “from which [the defendant]

is not expected to recover.”          See U.S.S.G. § 1B1.13 application

note 1(A)(ii). Indeed, other courts that have considered the issue

have   held     that    obesity   alone       is    insufficient     to   constitute

“extraordinary and compelling reasons.”                  See e.g., United States

v. Votaw, No. 2:11-CR-00514, 2020 WL 3868468, at *2 (E.D. Cal.

July 9, 2020) (BMI of 37.9 not sufficient for relief); United

States v. Edison, No. CR 12-225, 2020 WL 3871447, at *3 (D. Minn.

July 9, 2020) (BMI of 35.4 “fails to meet the demanding standard

for compassionate release”); United States v. Whitsell, No. 09-

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CR-20236,    2020   WL   3639590,   at       *4    (E.D.   Mich.   July   6,   2020)

(“Defendant’s obesity by itself is not sufficient to warrant early

release under the compassionate release standard.”).                  The same is

true with high blood pressure.                    See, e.g., United States v.

Calloway, No. 3:16-CR-00121, 2020 WL 3510684, at *2 (M.D. Tenn.

June 29, 2020) (denying compassionate release request from inmate

with high blood pressure and high cholesterol); United States v.

Adams, No. 3:16-CR-86, 2020 WL 3026458, at *1 (D. Conn. June 4,

2020)    (denying   compassionate    release         request   from   59-year-old

inmate whose only medical condition was high blood pressure and

who was taking medication to control it). 3


3
  Savoy’s counsel provides lengthy string citations to cases purporting
to hold otherwise. (See Doc. 234 at 28 n.57 & 30 n.58.) The cites are
not on point, however, because the implication is that high blood
pressure or obesity was the dispositive factor in an order granting
compassionate release. A careful review of the cases, however, shows
that this is rarely the situation. The court need not belabor the point,
other than to say that, generally, neither obesity nor high blood
pressure, alone or combined, constitutes extraordinary and compelling
medical reasons absent additional serious medical concerns, age, or a
major outbreak of COVID-19 at the defendant’s facility.       See, e.g.,
United States v. Hunt, 459 F. Supp. 3d 932, 934 (E.D. Mich. 2020)
(congestive heart failure, diabetes, asthma, and obesity); United States
v. Jenkins, 460 F. Supp. 3d 1121 (D. Colo. 2020) (60-year-old inmate
with obesity and a history of strokes); United States v. Quintero, 458
F. Supp. 3d 130, 131 (W.D.N.Y. 2020) (diabetes, a “compromised immune
system,” obesity, and hypertension); United States v. Handy, No. 3:10-
CR-128-8, 2020 WL 2487371, at *1 (D. Conn. May 14, 2020) (53-year-old
with congestive heart failure, obesity, and high blood pressure and
receiving immunosuppressant steroid injections at a facility with
“dozens” of COVID-19 cases); United States v. Barber, No. 6:18-CR-00446,
2020 WL 2404679, at *4 (D. Or. May 12, 2020) (high blood pressure,
obesity, and diabetes, with the diabetes the dispositive condition);
United States v. Howard, No. 4:15-CR-00018, 2020 WL 2200855, at *3
(E.D.N.C. May 6, 2020) (52-year-old with “numerous physical and medical
conditions” to include chronic obstructive pulmonary disease, Type II
diabetes, obesity, kidney disease, hernias, and open wounds on his legs);

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       Accordingly, Savoy has not shown that his medical conditions

constitute      extraordinary      and    compelling      reasons   that     merit

compassionate release, especially with no current cases of COVID-

19 amongst the inmate population at FCI Butner Low.                    A general

fear   of    contracting    COVID-19,     while      understandable,   does     not

constitute       an   extraordinary           and    compelling     reason     for

compassionate release.        See United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison alone

cannot      independently   justify      compassionate     release.”);       United

States v. Eberhart, 448 F. Supp. 3d 1086, 1090 (N.D. Cal. 2020)

(“General concerns about possible exposure to COVID-19 do not meet

the criteria for extraordinary and compelling reasons.”).                      And

Savoy has not shown he lacks the ability “to provide self-care

within the environment of a correctional facility” for his other

medical      conditions.     See    U.S.S.G.        § 1B1.13   application    note

1(A)(ii).

       Given Savoy’s age and medical condition, the availability of

treatment for his medical issues at FCI Butner Low, and the current

status of COVID-19 at Butner Low, and while acknowledging Savoy’s

undoubtedly sincere desire to avoid contracting COVID-19, the




United States v. Ardila, No. 3:03-CR-264, 2020 WL 2097736, at *2 (D.
Conn. May 1, 2020) (71-year-old with diabetes, cardiovascular disease,
hypertension, asthma, and obesity).

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court finds that no extraordinary or compelling reasons support

Savoy’s compassionate release.

     B.      Section 924(c)

     Savoy also argues, as an alternative basis for compassionate

release,     that   the   intervening    change    in    law   regarding   the

“stacking” of § 924(c) convictions in an indictment also qualifies

as an extraordinary and compelling reason.              (See Doc. 245 at 15

(“To be clear, the primary basis that counsels for compassionate

release is that Mr. Savoy could die if he contracts COVID-19 . .

. However, that is not the only reason that a sentence reduction

is warranted here.”).) 4      The court has carefully considered this

argument, as well, and does not believe that this change in law

constitutes an extraordinary and compelling reason to qualify for

compassionate release.

     Savoy argues that “[o]ne extraordinary and compelling reason

justifying    compassionate    release    is   that     [he]   was   previously

subjected to stacked progressive sentences under § 924(c) and would

be ordered to serve a substantially-reduced term of imprisonment

if sentenced today.”      (Doc. 234 at 31.)       Specifically, he contends

that the mandatory minimum terms that would be imposed on his two


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  Savoy’s counsel relies heavily on United States v. Adeyemi, No. CR 06-
124, 2020 WL 3642478 (E.D. Pa. July 6, 2020), in making its § 924(c)
argument. (Doc. 245 at 18-21.) The court notes that, while Adeyemi no
doubt expressed considerable sympathy for this argument, it ultimately
held, “we cannot conclude the December 2018 change in section 924(c)’s
stacking law singularly constitutes an extraordinary and compelling
reason warranting compassionate release.” Id. at *25.

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§ 924(c) counts would drop from 35 years (10 years for the first

conviction    because   he   discharged    the     firearm,    and    25   years

consecutive for the second conviction) to 20 years (10 years plus

10 years) if he was sentenced today.        (Id. at 32.)       The Government

responds that the First Step Act did not authorize the relief Savoy

seeks and that to grant it would contravene the Act.             (Doc. 241 at

10-17.)

      Some   district   courts   have    held    that   the   First   Step   Act

authorizes a district court to find that the Act’s change in the

stacking of § 924(c) convictions constitutes an extraordinary and

compelling reason under § 3582(c).          See, e.g., United States v.

Redd, 444 F. Supp. 3d 717 (E.D. Va. 2020); United States v.

Decator, 452 F. Supp. 3d 320 (D. Md. 2020); United States v.

Urkevich, No. 8:03CR37, 2019 WL 6037391 (D. Neb. Nov. 14, 2019).

The reasoning appears to be two-fold. First, these courts conclude

that, in the First Step Act, Congress removed the BOP’s exclusive

authority to determine what qualifies as an extraordinary and

compelling reason, granting the court independent authority to do

so.   Redd, 444 F. Supp. 3d at 725.             This is not controversial.

See Beck, 425 F. Supp. 3d at 579 (“While the old policy statement

provides helpful guidance, it does not constrain the Court’s

independent assessment of whether ‘extraordinary and compelling

reasons’ warrant a sentence reduction under § 3582(c)(1)(A)(i).”).

Second, using this authority, these courts conclude that the

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disparity resulting from the changes in § 924(c) sentencing, either

alone    or   in    conjunction       with    other     factors,     qualifies    as   an

extraordinary        and    compelling       reason     to   grant   a   compassionate

release.      Redd, 444 F. Supp. 3d at 722-24.

     It is this second step that is problematic.                         By doing so,

these decisions effectively use § 3582(c)(1)(A) to work an end-

run around both the laws passed by Congress and the Sentencing

Guidelines.        This is especially the case with § 924(c), because

Congress expressly declined to make the First Step Act’s sentencing

changes in § 924(c) retroactive.                    Instead, it provided: “This

section, and the amendments made by this section, shall apply to

any offense that was committed before the date of enactment of

this Act, if a sentence for the offense has not been imposed as of

such date of enactment.”           First Step Act of 2018, Pub. L. No. 115-

391, § 403(b), 132 Stat. 5194, 5221-22; see United States v.

Jordan, 952 F.3d 160, 174 (4th Cir. 2020) (concluding, in line

with other circuits, that the First Step Act’s changes to § 924(c)

are not retroactive).             Savoy cannot use the “extraordinary and

compelling”        language    from    §     3582(a)(1)(A)      to   effectuate     what

Congress expressly chose not to do when it revised § 924(c).

     The courts that permit the § 924(c) sentencing change to

constitute         an      extraordinary          and    compelling      reason        for

compassionate           release   address         the    retroactivity      issue      by

concluding that Congress merely did not want the sentences of all

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defendants sentenced under the old provision to be reviewed but

authorized individualized assessments of particular defendants.

See United States v. O’Bryan, No. 96-10076-03, 2020 WL 869475, at

*1 (D. Kan. Feb. 21, 2020) (“[I]t is not unreasonable for Congress

to conclude that not all defendants convicted under § 924(c) should

receive new sentences, even while expanding the power of the courts

to relieve some defendants of those sentences on a case-by-case

basis.” (citation omitted)).               This argument is unpersuasive.             It

seems unlikely that in the very same Act in which Congress elected

not to make the sentence reductions in § 924(c) retroactive it

permitted courts to do that very thing in a more obscure way via

changes    to    the    compassionate            release   process     of     § 3582(c).

Congress is expert at writing laws and does not “hide elephants in

mouseholes.”      See Whitman v. Am. Trucking Associations, 531 U.S.

457, 468 (2001).

       To be sure, in the First Step Act Congress expanded the role

of the courts in the compassionate release process.                          A defendant

can now directly petition the court for relief (after exhaustion),

and the court has an independent basis for concluding when there

are    extraordinary        and   compelling           reasons   for    compassionate

release.        See    18   U.S.C.     §    3582(c)(1)(A);       U.S.S.G.       § 1B1.13

application note 1.         But, particularly in the context of § 924(c),

it is highly unlikely that this expanded role included taking steps

that   Congress       itself   chose       not    to   take.     As    the    Government

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correctly notes, to hold otherwise would permit any defendant to

move the court for compassionate release based on any change in

law that applies to that defendant.            See Doc. 241 at 16; see also

United States v. Arojojoye, 806 F. App’x 475, 477 (7th Cir. 2020)

(describing as “dubious” an argument that sentencing disparities

can constitute extraordinary and compelling reasons and noting

that 28 U.S.C. § 2255 presents a better vehicle for such a motion). 5

To    do   so   would   effectively      infringe    on     Congress’s    right   to

determine       which   changes    in    statutory    law    are    to   be   deemed

retroactive and would vitiate the limitations Congress otherwise

wrote into 28 U.S.C. § 2255.

       Savoy’s argument is also inconsistent with the Sentencing

Guidelines.        Congress      still   mandates     that    any   compassionate

release reduction be “consistent with applicable policy statements

issued by the Sentencing Commission.”                18 U.S.C § 3582(c)(1)(A).

The    Guidelines’      policy    statement    defines       “extraordinary       and

compelling       reasons”   as    focusing    on     the    defendant’s       medical

conditions, age, or family circumstances.                  See U.S.S.G. § 1B1.13




5 Indeed, for many of the courts that have held that the change in
§ 924(c) sentencing constitutes an extraordinary and compelling reason
for compassionate release, there is nothing in the logic of the opinions
that would limit it to § 924(c) convictions. Therefore, anytime Congress
changes a law that would affect in some way a defendant’s sentence, it
would serve as a possible ground for compassionate release. There is
no indication that Congress intended the compassionate release process
to become a vehicle to provide for such sentence reductions.


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application note 1.     There is the “catch-all” provision, 6 but there

is no basis to say that a change in sentencing terms, such as the

changes   in   §   924(c),   is   in   any   way   consistent   with   similar

justifications enumerated in the Guidelines.             See, e.g., United

States v. Fox, No. 2:14CR03, 2019 WL 3046086, at *3 (D. Me. July

11, 2019) (noting that “those other extraordinary and compelling

reasons should be comparable or analogous to what the [Sentencing]

Commission has already articulated as criteria for compassionate

release” and denying a motion based on sentencing disparity).              As

the Government points out, the applicable policy statements issued

by the United States Sentencing Commission do not contemplate any

basis for compassionate release based on reevaluation of the

severity of the original sentence.           (Doc. 241 at 12.)

     Savoy’s argument suffers from a further problem.            The current

statutory scheme respects the continuing role of the BOP in the

compassionate release process while also respecting the roles of

Congress and the Sentencing Commission in sentencing. The Director

of the BOP has authority to bring a motion on behalf of a defendant.

See § 3582(c)(1)(A).     The Sentencing Commission contemplates that

the Director will have made a preliminary determination that

extraordinary and compelling reasons exist before doing so.                See


6
  See U.S.S.G. § 1B1.13 application note 1(D) (“Other Reasons.--As
determined by the Director of the Bureau of Prisons, there exists in the
defendant’s case an extraordinary and compelling reason other than, or
in combination with, the reasons described in subdivisions (A) through
(C).”).

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U.S.S.G. § 1B1.13 application note 4 (“The Commission encourages

the Director of the Bureau of Prisons to file such a motion if the

defendant meets any of the circumstances set forth in Application

Note 1.”).    Moreover, the actual text of the “catch-all” provision

states that it is the Director who will decide what other reasons,

in addition to those enumerated, qualify as extraordinary and

compelling.    See id. at note 1(D) (“As determined by the Director

of the Bureau of Prisons, there exists in the defendant’s case an

extraordinary and compelling reason other than, or in combination

with, the reasons described in subdivisions (A) through (C).”

(emphasis added)). But it strains reason to conclude that Congress

intended for the BOP -- a branch of the U.S. Department of Justice

-- to consider sentencing disparities as an extraordinary and

compelling reason.     See Mistretta v. United States, 488 U.S. 361

(1989). 7     The   consideration   of   sentencing    disparities       is   a

quintessential      judicial   function.       See,    e.g.,   18    U.S.C.

§ 3553(a)(6). If the First Step Act were deemed to have authorized


7
   Mistretta upheld the constitutionality of the U.S. Sentencing
Commission, an independent agency housed in the Judicial Branch. While
acknowledging that U.S. sentencing is not the “exclusive constitutional
province of any one Branch,” the Court noted that “Congress’ decision
to place the Commission within the Judicial Branch reflected Congress’
strong feeling that sentencing has been and should remain primarily a
judicial function.”   Id. at 390 (quotations omitted).     Further, the
Mistretta Court suggested that “had Congress decided to confer
responsibility for promulgating sentencing guidelines on the Executive
Branch, we might face the constitutional questions whether Congress
unconstitutionally had assigned judicial responsibilities to the
Executive or unconstitutionally had united the power to prosecute and
the power to sentence within one Branch.” Id. at 391 n.17.

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consideration   of     such     statutory     disparities        for   compassionate

release, the necessary question that follows is: what is the proper

sentencing range for such a defendant?

     The    First   Step   Act    only       changes   § 924(c)’s       stacking   of

mandatory    minimums;     it    did    not    limit       the   maximum    sentences

available.    Moreover, a sentencing court is always required to

take into account the overall sentence, especially when a mandatory

consecutive sentence on a § 924(c) count is involved.                      See Dean v.

United States, 137 S. Ct. 1170 (2017) (sentencing court permitted

to consider the mandatory minimum under § 924(c) when calculating

an appropriate sentence for the predicate offense).                         Thus, the

potential changes to a sentence caused by the First Step Act’s

revisions to § 924(c) are not isolated to that count of conviction.

Because § 3582(c)(1)(i) does not address mere inequity, but is

rather a vehicle for early release, the Director of BOP would have

to determine not only that the § 924(c) convictions imposed are

unjust, but that the term of imprisonment already served by a

defendant is “sufficient but not greater than necessary” in light

of the First Step Act’s changes.                   There is no indication that

Congress    intended    for     the    BOP    to    wade    into   these    difficult

sentencing decisions, but that is what Savoy invites.

     Of course, as noted above, the Sentencing Commission’s policy

statements have not been updated since the First Step Act was

enacted, so the language is, in a sense, “outdated,” and the courts

                                         18



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have independent authority to assess whether extraordinary and

compelling reasons warrant a sentence reduction.               See Beck, 425 F.

Supp. 3d at 579.          Just as there is no indication that Congress

intended   to     grant    BOP   the   authority   to   make   such   sentencing

decisions, there is nothing to indicate that Congress intended to

expand the courts’ authority to do so.               Given the joint role of

the courts and the BOP in the compassionate release process,

presumably both are applying the same grounds.

     This is not to say that Savoy’s argument that the prior

stacking rules of § 924(c) were not harsh, even unduly so in some

cases, is without merit. 8        But there are other tools more suitable

to address this concern -- § 2255 being the primary one for

prisoners in federal custody to attack their sentences, which

includes procedural safeguards not found in the compassionate

release process, such as bars to successive motions and time

limits.    See 28 U.S.C. § 2255(f), (h).           Because Congress knows how

to say what it means, these other laws are due the respect Congress

intended them.

     For    the    above     reasons,    this   court    concludes    that   the

sentencing reductions effectuated by the First Step Act in 18



8
  Savoy was sentenced to 483 months of imprisonment. (Doc. 111 at 2.)
As of the time he filed the instant motion, he had served 149 months,
or less than one-third, of his sentence. (Doc. 234 at 6.) As Savoy
acknowledges, even if he had been sentenced under the revised § 924(c)
scheme, he would have received 303 months of imprisonment and would have
only served about half of his term. (Id. at 6-7.)

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U.S.C. § 924(c) do not constitute an extraordinary and compelling

reason for a sentence reduction. 9        Accordingly, Savoy has not

offered extraordinary and compelling reasons as required by the

compassionate release statute. 10

     As the court has found that Savoy has failed to demonstrate

extraordinary and compelling reasons, it need not address the

Government’s alternative argument as to the § 3553(a) sentencing

factors (Doc. 241 at 20-23) or Savoy’s release plan, see 28 C.F.R.




9
  United States v. Chambers, 956 F.3d 667 (4th Cir. 2020), is not to the
contrary. There, the defendant moved for a sentence reduction under the
provision of the First Step Act that retroactively reduced the sentencing
disparity between crack and powder cocaine. Id. at 670. The district
court resentenced the defendant accordingly, but in doing so did not
consider the intervening change in the career-offender designation
brought about by United States v. Simmons, 649 F.3d 237 (4th Cir. 2011)
(en banc). Id. The Fourth Circuit in Chambers vacated and remanded to
the district court with instructions to recalculate Chambers’ Guidelines
range without the career-offender enhancement. Id. at 675. Chambers
stands for the proposition that “any Guidelines error deemed retroactive
. . . must be corrected in a First Step Act resentencing.” Id. at 668.
Savoy’s motion is distinguishable.     For one, while both the career-
offender change in law in Simmons and the crack-powder disparity in the
First Step Act were retroactive, the stacking of § 924(c) convictions
is not. Moreover, Savoy’s motion for a sentence reduction is brought
under the compassionate release provision of § 3582(c)(1)(A), not
§ 3582(c)(1)(B), as in Chambers. Section (c)(1)(A) comes with many of
the same “strictures” as § 3582(c)(2), which the Chambers court saw as
a “sharp contrast” to Chambers’ First Step Act motion under
§ 3582(c)(1)(B). See id. at 671. Specifically, while a (c)(1)(B) motion
merely states that a court “may modify an imposed term of imprisonment
to the extent otherwise expressly permitted by statute,” both
compassionate release motions under (c)(1)(A) and motions under (c)(2)
permit a sentence reduction only after consideration of the § 3553(a)
factors and if the reduction is consistent with the Sentencing
Commission’s policy statements. See 18 U.S.C. §3582(c).
10
  In so doing, the court expresses no view on the role such a change in
law might play in consideration of the factors under § 3553(a) once
extraordinary and compelling reasons are demonstrated.

                                    20



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§ 571.61(a)(2)    (requiring      a        detailed     release     plan   for

compassionate release requests).

    C.     Home Confinement

     Finally, to the extent Savoy requests home confinement, that

request must be denied.        “The BOP has exclusive authority to

determine [the] defendant’s place of imprisonment, including home

confinement, and the BOP’s placement decisions are not reviewable

by any court.”    United States v. Gray, NO. 4:12-CR-54-FL-1, 2020

WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (internal quotation

marks omitted).   As a result, the court is without jurisdiction to

order BOP to place Defendant on home confinement.             Id.    In other

words, it could not do so if it wanted to.                 Furthermore, the

Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, Pub.

L. No. 116-136, 134 Stat. 281 (2020), does not provide this court

with authority to order home confinement.             Gray, 2020 WL 1943476,

at *3.    Therefore, Savoy’s request for home confinement will be

denied.

III. CONCLUSION

     For the reasons stated,

     IT IS THEREFORE ORDERED that Savoy’s motion for compassionate

release (Doc. 233) is DENIED to the extent predicated on the First

Step Act’s changes to 18 U.S.C. § 924(c) and DENIED WITHOUT

PREJUDICE to the extent predicated on his medical condition.



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                                           /s/   Thomas D. Schroeder
                                        United States District Judge
November 9, 2020




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